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                                                                                                        E-FILED
                                                                         Tuesday, 31 May, 2005 03:21:24 PM
                                                                              Clerk, U.S. District Court, ILCD



       IN THE UNITED STATES DISTRICT COURT

            CENTRAL DISTRICT OF ILLINOIS

                   SPRINGFIELD DIVISION



UNITED STATES OF AMERICA,              )
                                       )
             Plaintiff,                )
                                       )
                                       )
                                       ) COURT NO.
       v.                              ) 97-30004-001
                                       )
Albert J. Muick,                       )
                                       )
             Defendant.                )


                            SATISFACTION OF MONETARY JUDGMENT

                     The Monetary Judgment in the above-entitled case has been paid in full,

      therefore the Clerk of the United States District Court for the Central District of Illinois is

      authorized and empowered to satisfy and cancel the Judgment of record.

                                              Respectfully submitted,

                                              JAN PAUL MILLER
                                              UNITED STATES ATTORNEY


      DATE: May 31, 2005

                                              s/Elizabeth L. Collins
                                              _______________________________
                                    By:       Elizabeth L. Collins, Bar No. 487864
                                              Attorney for Plaintiff
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                                              318 S. 6th Street
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                                 CERTIFICATE OF SERVICE

   It is hereby certified that service of the foregoing SATISFACTION OF JUDGMENT has

been mailed to the following individual(s) by depositing a copy thereof in the United States mail,

postage prepaid, addressed to:



                                        Albert J. Muick
                                        P.O. Box 771
                                        Tinian, MP 96952




May 31, 2005


                                        s/Elizabeth L. Collins
                                        ______________________________
                                 By:    Elizabeth L. Collins, Bar No. 487864
                                        Attorney for the Plaintiff
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                                        Springfield, Illinois 62701
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